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                                                           FILED: August 23, 2021


                     UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT

                               ___________________

                                    No. 21-1046
                             (1:20-cv-01059-LMB-JFA)
                               ___________________

DONALD JACOBS

              Plaintiff - Appellant

v.

LOGISTICS MANAGEMENT INSTITUTE

              Defendant - Appellee

                               ___________________

                                 JUDGMENT
                               ___________________

      In accordance with the decision of this court, the judgment of the district

court is affirmed.

      This judgment shall take effect upon issuance of this court's mandate in

accordance with Fed. R. App. P. 41.

                                       /s/ PATRICIA S. CONNOR, CLERK
